Case 2:99-Cr-20162-BBD Document 39 Filed 04/19/05 Page 1 of 2 Page|D 48

IN THE UNITED STATES DISTRICT comm
FOR THE WESTERN DISTRICT 0F TENNES§SS"S§E " ' " * 2 '

 

 

WESTERN DIVISION , _ ,,,
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W..D O`i“ TN,' 'i`z:.ivliJ;”sit'¢
UNITED STATES OF AMERICA,
Plajntif[`,
Docket No. 2:99-20162-])
v.
QUEENESTER OWENS,
Defendant.
ORDERED

 

IT IS HEREBY ORDERED, ADJUGED AND DECREED that the Hearing scheduled for

April 25 2005 be moved 10 the 51 H&` _______"day of W\ 2005. @ 1‘ 00 Pm

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This the( 3 day of 4a ¢£ , 2005.

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1131 Ru|e 55 andfor 32{b) FRCrP on 3( ` l.

 

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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

